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                          United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 MIKE JABARY                                      §
                                                  §   Civil Action No. 4:10-CV-00711
 v.                                               §   Judge Mazzant
                                                  §
 BRET MCCULLOUGH                                  §


                         MEMORANDUM OPINION AND ORDER

       Pending before the Court is the decision to sanction Mike Jabary’s attorney, Nicholas D.

Mosser (“Mosser”), for making disrespectful statements to the Court without a basis in fact.

Having considered the relevant pleadings, the Court finds that sanctions are appropriate and

necessary.

                                        BACKGROUND
       In September 2017, Mosser filed a motion and a reply on behalf of his client, Mike Jabary

(“Jabary”), in which the Court identified sanctionable statements. In order to fully understand and

explain the statements in the correct context, the Court briefly summarizes the procedural history

of the case. In 2009 and 2010, Jabary owned and operated a restaurant and hookah bar, called

Jabary Mediterranean, for which he retained a Certificate of Occupancy (the “Certificate”). After

about a year, the Certificate was revoked by a notice of violation posted on the door of Jabary

Mediterranean. Jabary asserts that his Certificate was improperly revoked.

       On December 28, 2010, Jabary filed a pro se complaint in the Eastern District of Texas

against the City of Allen (“the City”). Jabary retained Mosser, along with Mosser’s father, James

C. Mosser of Mosser Law PLLC, and filed Plaintiff’s First Amended Complaint on May 13, 2011,

against the City and several Individual Defendants (Dkt. #9). On August 24, 2011, Jabary filed

Plaintiff’s Second Amended Complaint and 7(a) Reply (Dkt. #37), which made clear that Jabary
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asserted a takings claim against the City and claims for violation of equal protection, procedural

due process, substantive due process, and conspiracy against the Individual Defendants and the

City. Without first seeking leave, Jabary improperly filed his Third Amended Complaint on

January 19, 2012 (Dkt. #77).

        The City filed an answer to Plaintiff’s Second Amended Complaint and 7(a) Reply

(Dkt. #50). The City (Dkt. #48) and the Individual Defendants (Dkt. #49) also filed motions to

dismiss the claims asserted against them in Plaintiff’s Second Amended Complaint and 7(a) Reply.

The undersigned 1 recommended that the takings claim against the City be dismissed without

prejudice, stayed the remaining claims in order for Jabary to exhaust his available state remedies

(Dkt. #79), and recommended dismissing the claims against the Individual Defendants (Dkt. #78).

Subsequently, Jabary filed his Motion for Sanctions and Memorandum in Support of Motion for

Rule 11 Sanctions (“Jabary’s Motion for Sanctions”) (Dkt. #83) alleging that the assertions the

City made in its answer had no basis in law or fact. Jabary supported the motion with emails he

had received as a result of an open records request (Dkt. #83). The Honorable Michael H.

Schneider 2 adopted the findings and recommendation of the undersigned and, at the same time,

denied Jabary’s Motion for Sanctions, and struck Jabary’s Third Amended Complaint (Dkt. #100).

Jabary appealed the order dismissing his claims against the Individual Defendants to the United

States Court of Appeals for the Fifth Circuit (Dkt. #120). The Fifth Circuit affirmed in part and

reversed in part, holding that Jabary adequately pleaded a due process claim against two of the



1
  At the time the motions to dismiss were filed, the undersigned was assigned to the case as United States Magistrate
Judge for the Eastern District of Texas. The Honorable Amos L. Mazzant, III served as a United States Magistrate
Judge from April 2009 until being appointed as United States District Judge on December 19, 2014. The present case
was referred to the undersigned as United States Magistrate Judge on December 28, 2010 (Dkt. #2).
2
  The Honorable Michael H. Schneider served as a United States District Judge for the Eastern District of Texas from
September 10, 2004, until October 1, 2016, assuming senior status on January 7, 2016. United States District Judge
Michael H. Schneider was assigned to this case from December 28, 2010, until March 19, 2012 (Dkt. #101).

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Individual Defendants, Bret McCullough, the City’s Chief Building Official (“McCullough”), and

Mayor Stephen Terrell (“Terrell”) (Dkt. #122). The Fifth Circuit then remanded the case to the

district court for further proceedings (Dkt. #122 at p. 18).

         Once the case resumed in the district court, Jabary filed Plaintiff’s Motion to Compel

Discovery and Memorandum in Support (“Jabary’s Motion to Compel”) (Dkt. #128), seeking

discovery on all matters relevant to the remaining claims. The Court denied Jabary’s Motion to

Compel, reasoning that Fifth Circuit law only allowed for limited discovery on qualified immunity

until the facts necessary to rule on the immunity claims were discovered (Dkt. #131). Following

the denial of Jabary’s Motion to Compel, McCullough and Terrell filed a motion for summary

judgment asserting a qualified immunity defense (Dkt. #135). The undersigned recommended that

the claims against Terrell be dismissed with prejudice and the case continue as to McCullough

because there was a genuine issue of material fact as to whether McCullough committed a due

process violation and whether he was entitled to qualified immunity (Dkt. #151). The Honorable

Ron Clark 3 adopted the findings and recommendation of the undersigned (Dkt. #182).

Subsequently, the City4 filed a motion for summary judgment (Dkt. #170) and McCullough filed

a second motion for summary judgment (Dkt. #171). The undersigned 5 granted the City’s motion

(Dkt. #205) and denied McCullough’s second motion (Dkt. #206), which resulted in the case

continuing solely against McCullough. McCullough appealed the denial of qualified immunity



3
  The Honorable Ron Clark became a United States District Judge for the Eastern District of Texas on October 10,
2002, became Chief Judge of the Eastern District of Texas on January 1, 2015, and assumed senior status on February
28, 2018. United States District Judge Ron Clark was assigned to the case from March 19, 2012, (Dkt. #101) until
January 6, 2015 (Dkt. #193).
4
  Pursuant to the Court’s August 8, 2014, Order granting Plaintiff’s Motion and Memorandum in Support of Motion
to Lift Stay and to Reinstate the Case as to the City of Allen, Texas (Dkt. #158), the Court lifted the previously imposed
stay and reinstated Jabary’s complaint against the City (Dkt. #161).
5
  At this point in the case, the undersigned was acting as a United States District Judge for the Eastern District of
Texas. The Honorable Amos L. Mazzant, III became a United States District Judge for the Eastern District of Texas
on December 19, 2014. The case was reassigned to the undersigned on January 6, 2015 (Dkt. #161).

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(Dkt. #199; Dkt. #208) and Jabary cross appealed the Court’s ruling that granted the City’s motion

as to the takings claim (Dkt. #226). The Fifth Circuit affirmed the dismissal of the takings claim,

with the modification that the dismissal be without prejudice, and dismissed the appeal as to

McCullough, asserting it had no jurisdiction to consider an interlocutory review of the genuineness

of the issues of fact (Dkt. #229 at pp. 7, 9). The Fifth Circuit then remanded the case for further

consideration (Dkt. #229 at p. 9).

       Once the case resumed, the Court held a status conference on June 20, 2017, and issued an

Amended Scheduling Order on June 30, 2017, which set the deadline for discovery as October 2,

2017, the Final Pretrial Conference for November 9, 2017, and Jury Selection and Trial for

November 14, 2017 (Dkt. #231). Over two months later, on September 5, 2017, Mosser, on behalf

of Jabary, filed a Motion Requesting Status Conference and Revised Orders on Discovery

(Dkt. #235). The reason Jabary filed the motion was to determine what discovery Jabary was

permitted to obtain, and to enable discovery on matters outside of qualified immunity (Dkt. #235).

McCullough filed a response to the motion (Dkt. #236) and Mosser, on behalf of Jabary, filed a

reply (Dkt. #237). In filing his motion and reply, Mosser made several statements that the Court

identified as sanctionable statements (Dkt. #239). Accordingly, the Court issued its Order to Show

Cause (“Show Cause Order”) stating “[p]ursuant to Rule 11(c)(3) and Rule 12(f) of the Federal

Rules of Civil Procedure and the Court’s inherent power to regulate a party’s conduct in a case

before it, [Mosser] is hereby ORDERED to appear and show cause why he should not be

sanctioned for statements asserted in” the briefing regarding the status conference request

(Dkt. #239 at p. 1) (emphasis in original). The Show Cause Order stated:

       The statements at issue in Dkt. #235 are as follows:

       2. The City of Allen, while they were a party to this suit, concealed documents
       relevant to discovery and relevant to the claims before the court. The Court was

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           less than concerned about this concealment. See Docs. 83 & 100 (Emphasis
           added).

           4. Eventually, and despite this Court’s rulings blocking discovery and condoning
           the concealment of documents; Plaintiffs received a treasure trove of documents
           concerning the conspiracy and backroom politics that deprived Jabary of his right
           to do business in the City of Allen. Doc. 83. Regardless of the emails and
           admissions contradicting the sworn affidavits; facts that demonstrated the
           conspiracy, this Court disregarded what actually happened, and held that Plaintiff’s
           accusations that the City of Allen “held private meetings to devise a method of
           shutting down Jabary Mediterranean,” was merely a conclusory statement. Doc.
           79[ ](and the numerous other footnotes where the Court disregarded the admissions
           of the City Officials). The Court ignored emails and other documents that
           fundamentally demonstrated the City’s misconduct and ignored the fundamental
           contradictions contained in the affidavits used to dismiss Plaintiff’s case.

           5. Indeed, every statement the Court believed was conclusory was based on specific
           facts contained in the emails the City of Allen hid from Plaintiff until the Texas
           Open Records Request was filed. Compare Doc. 79 with Doc. 83.

           6. Even after Plaintiff gave up in the hopes of justice, as facts and admissions by
           the City of Allen do not amount to factual contentions (instead are merely
           conclusory statements); Plaintiff sought motions to compel seeking to get
           discovery, in this case, the Court declined the majority of the discovery. See Docs.
           128 and Doc. 131.

           7. Furthermore, Plaintiffs do not believe that perjured affidavits should be an
           acceptable means to dictate the limits of qualified immunity, and certainly should
           not be the means to restrict this Court from seeking the truth.

           8. Plaintiff would like to depose the members of these conclusory “secret” meetings
           (As described by Docs. 83-1 through 83-28) and the participants of the email chains
           identified above. However, this court declines to admit those accounts were
           anything beyond a “conclusory allegation;” despite their plain admission against
           interest by those persons. See eg., Doc. 78; Doc. 83; Doc. 100. (Footnote omitted
           but information added).[ 6]

           9. Rather than wasting valuable time drafting discovery, serving subpoenas, and
           moving to compel responses, Plaintiffs seek clarification at the outset and reserves
           his time and efforts if the Court refuses to permit justice be done and again deny
           Jabary his due process.

           10. The Court should schedule a Status Conference to determine to what extent
           Qualified Immunity can bar the truth from being revealed, and to what extent the


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    At the Show Cause Hearing, the Court struck this paragraph as a comment that warranted sanctions.

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           Court’s refusal to consider the email chain will continue to impact Jabary’s
           recovery in this case of clear civil rights violations.

           The statements at issue in Dkt. #237 are as follows:

           2. Defendants’ point to several truthful statements, as being “disrespectful.”
           Doc. 236, pg 1-6. However, Defendants offer nothing to demonstrate how those
           truthful statements were either disrespectful or how they are inapplicable in the
           present discovery mess that has been ongoing for the better part of seven years. Id,
           pg 1-2.[ 7]

           3. Rather, the accuracy of Plaintiff’s assertions is telling. Doc. 235. Plaintiff spent
           far too much time litigating open records requests in a vain effort to gather
           information related to the conspiracy; while combating the false representations
           that this Court continually declines to address. See generally, Doc. 83
           (accompanying exhibits); Doc. 100. Only through the Texas Open Records Act,
           was Plaintiff able to receive nearly two-thousand pages of documents, which should
           have been identified in initial disclosures. These documents demonstrate that the
           very accusations the Court erroneously disregarded as conclusory; were not only
           facts (and admissions by Defendants), but demonstrate Defendants’ Counsel
           manufactured false representations to the Court—repeatedly. See Doc. 83 and Doc.
           79; See also Doc. 182. Every representation by Defendants before the Court
           regarding the meetings and whether they happened was false, and formed the basis
           of the Court’s dismissal of many of those statements as conclusory. Doc. 79.

           4. Rather, had Defendants complied with Rule 26[], made proper disclosures; and
           had the court been concerned more with the existence of the emails (demonstrating
           that every statement the Court disregarded as conclusory was factually true) a
           different result would have been had. (Footnote omitted).

           10. Jeff[re]y’s arguments are yet another set of false representations to the Court.
           Doc. 236, pg 4. Despite Jeffrey’s maligning of Plaintiff, Plaintiff has clearly
           alleged “Through a Texas Open Records Lawsuit, Plaintiff has acquired
           documents which indicate this statement is factually not true and a denial is not
           warranted by the evidence [Doc. 37, ¶ 17].” Doc. 83, pg 4[ ](emphasis added).
           Moreover, in the recent document, Plaintiff plainly asserted that he spent months
           litigating over … [an] open records request[].” Doc. 235. It is unclear why this
           court continues to ignore Jeff[re]y’s pleaded falsehoods. However, the Court does.
           See Doc. 100. (Emphasis in original).

           Footnote 3: Indeed, maybe if Jabary had used enough creative adjectives and
           pretended differently, the Court would have ruled in his favor. Plaintiff has
           previously complained about the vile nature of Jeff[re]y’s pleadings, and those
           complaints have fallen on deaf ears. Doc. 203. Plaintiff began compiling a list of


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    The Court strikes this paragraph as one that warrants sanctions.

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           the slurs directed at Plaintiff, but this task was too disturbing to complete. At least
           Plaintiff’s assertions can be directly proved, even if dismissed by the Court.

           25. Like much of Jim Jeffrey’s writing, his response is a continual game of hide
           and seek, ignoring the issues, and conflating actual facts with what Jeffrey can
           manufacture to deny relief to Jabary. Doc. 236. Plaintiff did not conduct discovery
           during this round, and sought an order from the Court, based on the sincerely held
           belief that, Jeffrey would lie about his cooperation in the matter merely to tell the
           court that any arguments against qualified immunity “should not be the basis of any
           relief herein, nor should this be the basis of allowing any discovery.” Compare
           Doc. 236-1, Appx. pg 3 with Doc. 236, pg 4. It is disappointing that these beliefs
           are continually ratified. (Emphasis in original).

           27. Numerous witnesses have perjured themselves by submitting false declarations
           and affidavits to this Court, Plaintiff has a constitutional right to confront these
           persons. See Docs. 170-2 (pgs 79-85; 98-108) Doc. 171-1, pgs 79-85 and pgs
           98-108. There is no reason this Court should condone Jeffrey’s discovery games,
           false representations, and childish name-calling.

           Prayer: Plaintiff prays that this Court grant his “utterly meritless,” “bizzare,”
           “misleadingly,” “murky,” and “indistinguishable” “wad of papers” such that the
           qualified immunity defense will never be raised with response to a discovery matter
           before the Court.[ 8]

(Dkt. #239 at pp. 1–3) (emphasis in original). The Court originally set a show cause hearing for

Monday, October 2, 2017, at 12:00 p.m. (Dkt. #239 at p. 3). The Court subsequently rescheduled

the hearing (“Show Cause Hearing”) for 10:00 a.m. on Friday, October 13, 2017. Mosser filed his

Response to Show Cause Order on October 10, 2017 (Dkt. #250). The Court held the Show Cause

Hearing on Friday, October 13, 2017.




8
    The Court finds this statement is not sanctionable and thus strikes it from its Show Cause Order.

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                                       LEGAL STANDARD

          The Federal Rules of Civil Procedure outline how an attorney shall comport himself

before a court. Federal Rule of Civil Procedure 11(b) provides that:

       By presenting to[a] court a pleading, written motion, or other paper—whether by
       signing, filing, submitting, or later advocating it—an attorney or unrepresented
       party certifies that to the best of the person’s knowledge, information, and belief,
       formed after an inquiry reasonable under the circumstances:

       ...

       (3) the factual contentions have evidentiary support or, if specifically so identified,
       will likely have evidentiary support after a reasonable opportunity for further
       investigation or discovery

       ...

FED. R. CIV. P. 11(b)(3). “On its own, [a] court may order an attorney, law firm, or party to show

cause why conduct specifically described in the order has not violated Rule 11(b).” FED. R. CIV.

P. 11(c)(3). However, for Rule 11 purposes, courts must afford the sanctioned party notice and an

opportunity to be heard to ensure due process. Merriman v. Sec. Ins. Co. of Hartford, 100 F.3d

1187, 1191 (5th Cir. 1996) (citing Boddie v. Connecticut, 401 U.S. 371, 401 (1971); Spiller v. Ella

Smithers Geriatric Ctr., 919 F.2d 339, 346–47 (5th Cir. 1990)).

       When evaluating Mosser’s objectionable contentions, the Court considers the Texas

Disciplinary Rules of Professional Conduct and the Eastern District of Texas’s Standards of

Practice. Under the Texas Disciplinary Rules of Professional Conduct, “[a] lawyer shall not

knowingly: (1) make a false statement of material fact or law to a tribunal.” TEX. DISCIPLINARY

RULES PROF’L CONDUCT R. 3.03(a)(1), reprinted in TEX. GOV’T CODE ANN., tit. 2, subtit. G, app.

A (West 2005) (Tex. State Bar R. art. X, §9). Further, “[a] lawyer shall not make a statement that

the lawyer knows to be false or with reckless disregard as to its truth or falsity concerning the

qualifications or integrity of a judge, adjudicatory official or public legal officer, or of a candidate

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for election or appointment to judicial or legal office.” TEX. DISCIPLINARY RULES PROF’L

CONDUCT R. 8.02(a) reprinted in TEX. GOV’T CODE ANN., tit. 2, subtit. G, app. A (West 2005)

(Tex. State Bar R. art. X, §9).

       Moreover, attorneys who appear in civil and criminal cases before the Court shall comply

with the following standards of practice in the Eastern District of Texas:

       (B) A lawyer owes, to the judiciary, candor, diligence, and utmost respect.

       (C) A lawyer owes, to opposing counsel, a duty of courtesy and cooperation, the
           observance of which is necessary for the efficient administration of our system
           of justice and the respect of the public it serves.

       ...

       (E) Lawyers should treat each other, the opposing party, the court, and members of
           the court staff with courtesy and civility and conduct themselves in a
           professional manner at all times.

       ...

       (K) Effective advocacy does not require antagonistic or obnoxious behavior, and
          members of the bar will adhere to the higher standard of conduct which judges,
          lawyers, clients, and the public may rightfully expect.

LOCAL RULE AT-3.

       Once a court finds that counsel or an unrepresented party has violated Rule 11, it has

discretion to impose an appropriate sanction. Although the discretion in fashioning an appropriate

sanction is broad, the sanction imposed should be the “least severe sanction” adequate to deter

future violations of Rule 11. Merriman, 100 F.3d at 1194. Sanctions may be monetary or

nonmonetary, and may include striking the offending exhibit or dismissal of a claim or defense.

Id.




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                                            ANALYSIS

         After the Court issued its Show Cause Order, Mosser filed a sixty-page response

 (Dkt. #250). In his response, Mosser claimed that he was “at a loss” because he did not understand

 how any “of the statements identified in the Court’s Order [met] any [of the] requirement[s] for

 sanctions addressed in [Federal Rule of Civil Procedure] 11(b)(1)-(4).” (Dkt. #250 at p. 7).

 Because Mosser did not understand what was sanctionable about his comments, the Court started

 the Show Cause Hearing intending for it to be educational for Mosser, as opposed to imposing

 sanctions upon Mosser. The Court tasked itself to teach Mosser how his statements violated Rule

 11 and disrespected the Court. Unfortunately, Mosser spurned the Court’s advice and support. At

 every turn, Mosser was unapologetic, unwilling to admit that his word choices were disrespectful,

 and stood firm in his argument that his words were justified. With this backdrop, the Court

 analyzes whether sanctions are appropriate in this matter.

    I.      Notice and a Reasonable Opportunity to Be Heard

         In his response, Mosser argues that he did not get proper notice because “[t]he Court’s

 order cites no specifics on what basis it is issuing the show cause order.” (Dkt. #250 at p. 7).

 Mosser contends that the quoted passages in the Court’s Show Cause Order “provide no assistance

 in Mosser determining what, if any rule, he has violated—since the quotes are predominantly those

 of opposing counsel, Jim Jeffrey.” (Dkt. #250 at p. 7).

         Federal Rule of Civil Procedure 11 requires that the “order imposing a sanction must

 describe the sanctioned conduct and explain the basis for the sanction.” FED. R. CIV. P. 11(c)(6).

 The notice required for sanctions is based on the conduct sanctioned by the Court. “An attorney

 who files court papers with no basis in fact needs no more notice than the existence of Rule 11

 itself.” Merriman, 100 F.3d at 1191 (citing Spiller, 919 F.2d at 346; Veillon v. Expl. Servs., Inc.,



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 876 F.2d 1197, 1202 (5th Cir. 1989)). “However, where a party files papers in court without any

 basis in law, due process requires specific notice of the reasons for contemplating sanctions.” Id.

 (emphasis in original) (citing Spiller, 919 F.2d at 346–47). “Such notice may take the form of a

 personal telephone call, a letter, or a timely Rule 11 motion.” Id. (citing Veillon, 876 F.2d at 1202).

 Further, for the sake of Rule 11, due process does not require an actual hearing. Id. at 1192.

 Rather, the opportunity to respond through written submissions usually constitutes a sufficient

 opportunity to be heard. Id.

          Here, the Court finds, as will be further discussed, that Mosser submitted papers that had

 no basis in fact, and as such, Mosser “needs no more notice than the existence of Rule 11 itself.”

 Id. (citing Spiller, 919 F.2d at 346; Veillon, 876 F.2d at 1202). The Court first notes that Mosser

 previously had notice of the existence of Rule 11, as Mosser filed Jabary’s Motion for Sanctions

 (Dkt. #83). However, the Court additionally issued its Show Cause Order, which provided the

 basis for the sanction as Rule 11 and described the sanctioned conduct by directly quoting the

 statements the Court found sanctionable (Dkt. #239). Furthermore, the Court gave Mosser the

 opportunity to be heard both in writing, through his response (Dkt. #250), and at an approximately

 two-hour Show Cause Hearing, which the Court is not required to provide. Merriman, 100 F.3d

 at 1191. As such, the Court is satisfied that the Court complied with the Rule 11 requirements.

 See Bullard v. Chrysler Corp., 925 F. Supp. 1180, 1184 (E.D. Tex. 1996) (citations omitted).

    II.      Sanctionable Conduct

          In an order imposing sanctions, the Court “must specifically describe the conduct thought

 to be a violation of Rule 11.” Id. at 1186 (citations omitted). Accordingly, the Court will detail

 the statements it has identified as sanctionable in this order (“Sanctions Order”). As previously

 mentioned, the Court looks to Federal Rule of Civil Procedure 11, Texas Disciplinary Rules of



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 Professional Conduct 3.03 and 8.02, and Local Rule AT-3 when determining whether the

 comments made in this case are sanctionable. These rules require that statements made to the

 Court must be (A) based in fact and (B) display respect and civility. The Court addresses each

 requirement in turn.

        Before the Court details the arguments surrounding each statement, the Court addresses

 one argument that Mosser consistently made throughout the Show Cause Hearing and his briefing.

 Mosser frequently details the inappropriate and disrespectful comments opposing counsel made

 toward Mosser, and his co-counsel, during the course of the litigation. However, the basis of the

 Show Cause Order, Show Cause Hearing, and, now, this Sanctions Order, is the statements that

 Mosser made that were disrespectful to the Court. Counsel’s interactions and conduct toward each

 other are immaterial for the purposes of the Show Cause Order, Show Cause Hearing, and

 Sanctions Order. Accordingly, the Court will not engage in an analysis regarding such conduct.

        A. Factual Support

        Statements made to the Court must be based in fact with evidentiary support and must be

 made without reckless disregard to their truth or falsity.     FED. R. CIV. P. 11(b)(3); TEX.

 DISCIPLINARY RULES PROF’L CONDUCT R. 3.03(a)(1); TEX. DISCIPLINARY RULES PROF’L

 CONDUCT R. 8.02(a). As the Court did in its almost two-hour Show Cause Hearing, the Court will

 go through each comment it deemed sanctionable and analyze why each statement is factually

 unsupported.

                1. The City of Allen, While They Were a Party to This Suit, Concealed
                   Documents Relevant to Discovery and Relevant to the Claims Before the
                   Court. The Court Was Less Than Concerned About This Concealment.

        The Court identified the sentence “the Court was less than concerned about this

 concealment” as the sanctionable statement in this paragraph. The applicable definition of



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 “concern” is “to be a care, trouble, or distress to.” 9 MERRIAM WEBSTER ONLINE DICTIONARY,

 https://www.merriam-webster.com/dictionary/concern (March 15, 2018). Accordingly, Mosser

 would have to provide evidence of what the Court cared about, or was troubled or distressed by,

 in order to illustrate his statement is based in fact. Mosser has failed to do so.

          Mosser claims that the Court’s denial of Jabary’s Motion for Sanctions (Dkt. #100) is

 factual support for his contention that the Court was “less than concerned” about the alleged

 concealment (Dkt. #250 at pp. 8–9). He further maintained that “each and every time Mosser

 pointed to the emails demonstrating the falsity of the statements made by [Defendants] and their

 attorney, the Court declined to address it.” (Dkt. #250 at p. 9) (citing Dkt. #132; Dkt. #140).

 During the Show Cause Hearing, Mosser provided the following documents as examples of times

 he claims the Court failed to address the concealment of documents, which Mosser claims

 demonstrate that the Court was “less than concerned” about such concealment: Plaintiff’s

 Response to Defendants’ Motion and Brief to Dismiss Third Amended Complaint (Dkt. #88);

 Jabary’s Motion to Compel (Dkt. #128); Plaintiff’s Objection to Magistrate Judge’s Reports and

 Recommendations (Dkt. #89); Plaintiff’s Motion for Continuance and Memorandum in Support

 (“Jabary’s Motion to Continue”) (Dkt. #141); Plaintiff’s Response to Defendant the City of Allen’s

 Motion for Summary Judgment (Dkt. #186); Jabary’s Motion Requesting Status Conference and

 Revised Orders on Discovery (Dkt. #235), which initiated the Court’s Show Cause Order; Jabary’s

 Opposed Emergency Motion to Extend Discovery (Dkt. #242); Jabary’s Response to Previously

 Unopposed Motion to Extend Deadline (Dkt. #243); and Jabary’s Emergency Motion to Compel




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   This is the third listed definition, but is the definition that is applicable to the context of the sentence. The other
 listed definitions are: “to relate to: be about”; “to have influence on”; and “engage, occupy.” MERRIAM WEBSTER
 ONLINE DICTIONARY, https://www.merriam-webster.com/dictionary/concern (March 15, 2018).

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 Production or Privilege Log (Dkt. #245). 10 At the Show Cause Hearing, Mosser argued that

 because of the way the Court responded to these motions, the statement that the Court was “less

 than concerned about this concealment,” was the only way he could interpret the Court’s reasoning

 in this case.

          This is the exact point of the Court’s Show Cause Order, Show Cause Hearing, and, now,

 Sanctions Order. Mosser’s opinion or interpretation of the way the case has proceeded does not

 provide a factual basis for a statement regarding the intent of the Court. The Court will examine

 each piece of evidence Mosser offered to support his statement in turn.

                          i.    Motion for Sanctions (Dkt. #83) and Corresponding Order
                                (Dkt. #100)

          Mosser presented Jabary’s Motion for Sanctions as evidence that the Court was “less than

 concerned” with the concealment of documents. Mosser claims that Jabary obtained documents

 as a result of an open records request that the City concealed from Jabary in his initial disclosure

 and during the discovery process (Dkt. #250 at p. 8). This conduct formed the basis of Jabary’s

 Motion for Sanctions (Dkt. #83). Mosser maintained that the Court responded to Jabary’s Motion

 for Sanctions against the City with only one line and made no mention of the underlying conduct,

 which is support for the contention that the Court was “less than concerned” about the concealment

 (Dkt. #250 at p. 9).

          As it pertains to Jabary’s Motion for Sanctions, the order states: “[i]t is further ORDERED

 that Plaintiff’s Motion for Sanctions and Memorandum in Support of Motion for Rule 11 Sanctions




 10
    These motions are all referred to in Mosser’s Response to Show Cause Order as support for the statement that the
 “Court continues to ignore Jeffery’s pleaded falsehoods.” (Dkt. #250 at p. 47). However, during the Show Cause
 Hearing, Mosser directed the Court to the section regarding his claim that the Court ignored pleaded falsehoods while
 discussing his statement that the Court was “less than concerned” with the concealment of documents, claiming that
 these documents also supported this first statement that the Court was “less than concerned” with the concealment of
 documents.

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 (Dkt. No. 83) is DENIED.” (Dkt. #100 at p. 4) (emphasis in original). This offers factual support

 for the contention that the Court considered the motion and determined that there was no relief it

 had the authority to grant at the time. However, it does not give any factual support for the

 contention that the Court did not care, was not troubled by, or was less than distressed about the

 concealment of documents. As such, this does not provide any factual basis for Mosser’s

 statement.

                     ii.    Mike Jabary’s Motion and Memorandum in Support of Motion for
                            Relief from Judgment (Dkt. #124), Corresponding Report and
                            Recommendation (Dkt. #132), and Order (Dkt. #140)

        Mosser claims that Jabary’s Motion and Memorandum in Support of Motion for Relief

 from Judgment (“Jabary’s Motion to Alter Judgment”) (Dkt. #124) and the Court’s corresponding

 responses to such motion (Dkt. #132; Dkt. #140) provide factual support for his statement. Jabary

 filed a Motion to Alter Judgment based on the discovery of the documents he alleges the City

 concealed (Dkt. #124). The Court denied Jabary’s Motion to Alter Judgment because the motion

 was filed over a year after the Court entered judgment, and was, therefore, filed late (Dkt. #132;

 Dkt. #140). The Court never reached the merits of Jabary’s motion (Dkt. #132; Dkt. #140). The

 Court’s denial of a motion as time-barred offers no factual support for Mosser’s bold assertion that

 the Court “was less than concerned,” or in other words, not troubled or distressed by the

 concealment or did not care about the concealment of documents.

                     iii.   Plaintiff’s Response to Defendants’ Motion and Brief to Dismiss
                            Third Amended Complaint (Dkt. #88), Plaintiff’s Objection to
                            Magistrate Judge’s Reports and Recommendations (Dkt. #89), and
                            Corresponding Order (Dkt. #100)

        Mosser argues that Jabary’s Response to Defendants’ Motion and Brief to Dismiss Third

 Amended Complaint (Dkt. #88) and Plaintiff’s Objection to Magistrate Judge’s Reports and




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 Recommendations (Dkt. #89) are examples of times that Jabary complained of the City’s

 concealment of documents and the Court declined to address the conduct.

         On January 19, 2012, Jabary improperly filed Plaintiff’s Third Amended Complaint,

 without seeking leave of Court, adding allegations from the alleged concealed documents

 (Dkt. #77). Despite Plaintiff’s Third Amended Complaint, the undersigned issued reports and

 recommendations granting the Individual Defendants’ motion to dismiss Plaintiff’s second

 amended complaint (Dkt. #78) and granting in part the City’s motion to dismiss Plaintiff’s second

 amended complaint (Dkt. #79). Subsequently, on February 3, 2012, the Individual Defendants

 filed their Motion & Brief to Dismiss for Failure to State a Claim (“Individual Defendants’ Motion

 to Dismiss Third Amended Complaint”) (Dkt. #86) and Jabary filed a response on February 8,

 2012 (Dkt. #88).        Then, on February 9, 2012, Jabary filed objections to the reports and

 recommendations arguing Plaintiff’s Third Amended Complaint was the live pleading and arguing

 that Defendants’ answers and motions relied on false statements, which Jabary claimed could be

 proven false by the concealed documents (Dkt. #89).

         The Court struck Plaintiff’s Third Amended Complaint because Jabary did not properly

 seek leave of Court, as required by the Federal Rules of Civil Procedure, 11 and denied as moot the

 Individual Defendants’ Motion to Dismiss Third Amended Complaint (Dkt. #100 at pp. 2–4). The

 Court went on to say that, had Plaintiff’s Third Amended Complaint been properly filed, the

 amendment, including the allegations from the alleged concealed documents, did not correct the

 deficiencies identified by Defendants in their prior motions to dismiss (Dkt. #100 at p. 3) (holding

 “[a] review of the Third Amended Complaint, as well as the new motions to dismiss, leads the

 Court to the conclusion that this amendment would be futile and does not correct the deficiencies


 11
   Jabary appealed this ruling and the Fifth Circuit affirmed the Court’s order striking the third amended complaint
 (Dkt. #122 at pp. 4–5).

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 of the prior complaints.”). The Court further overruled the remaining objections and adopted the

 recommendation of the undersigned (Dkt. #100 at pp. 3–4).

         What is absent from this order is any statement from the Court about its internal cares,

 troubles, or distresses regarding the alleged concealment of documents. As such, Plaintiff’s

 response to the Individual Defendants’ Motion to Dismiss Third Amended Complaint (Dkt. #88),

 Plaintiff’s Objection to Magistrate Judge’s Reports and Recommendations (Dkt. #89), and the

 corresponding order (Dkt. #100) give no indication regarding the Court’s concerns. Accordingly,

 these documents do not offer any factual support for Mosser’s sanctionable statement.

                     iv.   Plaintiff’s Motion to Compel Discovery and Memorandum in
                           Support (Dkt. #128), Corresponding Order (Dkt. #131), Plaintiff’s
                           Motion for Continuance and Memorandum in Support (Dkt. #141),
                           and Corresponding Order (Dkt. #150)

         Mosser contends that Jabary’s Motion to Compel (Dkt. #128) and Jabary’s Motion to

 Continue (Dkt. #141) prove that the Court was “less than concerned” with the City’s conduct in

 this case.

         When Jabary filed his Motion to Compel, he made no mention of the City’s concealment

 of documents; Jabary instead complained that McCullough and Terrell limited their participation

 in discovery to qualified immunity (Dkt. #128). Jabary argued that discovery should be open as

 to all relevant matters because the Fifth Circuit already determined that McCullough and Terrell

 were not entitled to qualified immunity in this case (Dkt. #128). However, the Fifth Circuit only

 held that “[i]n this matter on appeal, these two defendants can cite no ‘extraordinary

 circumstances’ to prove that they ‘neither knew nor [that they] should have known’ of Jabary’s

 right to due process. . . . As such, the defendants have not, on appeal, demonstrated a right to

 qualified immunity.” (Dkt. #122 at p. 16) (citing Harlow v. Fitzgerald, 457 U.S. 800, 818–19

 (1982)) (emphasis added). With that, the Court denied Jabary’s Motion to Compel (Dkt. #131 at

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 p. 2). The Court found that the issue of qualified immunity was not yet settled and Fifth Circuit

 precedent only permitted limited discovery on the issue of qualified immunity until the facts

 needed to rule on the immunity claims were uncovered (Dkt. #131 at p. 2). 12 After the Court

 entered its order denying Jabary’s Motion to Compel (Dkt. #131), Jabary filed a Motion to

 Continue because of the parties’ disagreement as to the scope of discovery (Dkt. #141). Again,

 Jabary never referenced or sought relief based on the concealment of documents in this motion

 (Dkt. #141). The Court denied Jabary’s Motion to Continue (Dkt. #150).

         Neither motion asks the Court to grant any relief based on the alleged concealment of

 documents, or even mentions the concealment of documents (Dkt. #128; Dkt. #141). Accordingly,

 the Court’s denial of these requests do not indicate the Court’s thoughts or feelings on the

 concealment of documents. Therefore, the same provides no factual support for the statement that

 the Court was “less than concerned” with the City’s concealment of documents.

                         v.     Plaintiff’s Response to Defendant the City of Allen’s Motion for
                                Summary Judgment (Dkt. #186) and Corresponding Order
                                (Dkt. #205)

         Mosser asserts that the Court declined to address the City’s conduct when Jabary raised the

 concealment of documents in his response to the City’s motion for summary judgment (Dkt. #186).

 In response to the City’s motion for summary judgment, Jabary objected to summary judgment

 evidence for a variety of reasons, one of those being that emails obtained in the open records

 request disproved the statements made in McCullough’s declaration. See, e.g., (Dkt. #186 at

 pp. 16, 19–20). The Court overruled Plaintiff’s objections to the documents, without commenting

 on the underlying reasons for its decision, because it did not rely on the evidence (Dkt. #205 at


 12
   Even if the motion had referenced the concealment of documents, the Court limited discovery to qualified immunity,
 which was the only discovery the Fifth Circuit allowed (Dkt. #131). Accordingly, the Court’s ruling was not an
 indication it was “less than concerned” with the concealment of documents; it was only an indication the Court
 followed Fifth Circuit precedent.

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 p. 6 n.4) (explaining that if the Court relied on any of the objected-to evidence, the Court would

 do an analysis of the objection at the time it used the evidence). The Court did not overrule the

 objections because it was less than troubled by a party concealing documents; the Court overruled

 the objection because it did not rely on the evidence.

          This is further supported by the Court’s holding in regards to the City’s motion for

 summary judgment. As to the takings claim, the Court held that such claim was barred by res

 judicata, collateral estoppel, and was not ripe (Dkt. #205 at pp. 10–12).13 As to the due process

 claim, the Court found that the evidence did not prove that McCullough was a policymaker, and

 there was no official policy to deny due process; accordingly, the City could not be liable for any

 due process violation under § 1983 (Dkt. #205 at pp.13–15). This decision was based on the City’s

 charter and the City’s land development code, not on McCullough’s declaration. Again, absent

 from the Court’s order is any comment that it did not care that the City was concealing documents

 or that it had no concern for whether or not the City was concealing documents (Dkt. #205).

 Therefore, this response and corresponding order provide no factual support for the contention that

 the Court was “less than concerned” with the concealment of documents.

                         vi.     Motion Requesting Status Conference and Revised Orders on
                                 Discovery (Dkt. #235)

          Mosser maintains that Jabary’s Motion Requesting Status Conference and Revised Orders

 on Discovery (Dkt. #235) is an example of an occasion where Jabary complained of the

 concealment of documents and the Court declined to address the concealment.

          In his motion requesting a status conference, which is one of the two documents that

 initiated the Show Cause Order, the Show Cause Hearing, and this Sanctions Order, Jabary did


 13
    Jabary appealed the Court’s dismissal of the takings claim. The Fifth Circuit agreed that the takings claim was not
 ripe (Dkt. #229 at p. 9). Accordingly, the Fifth Circuit affirmed the dismissal but modified the dismissal to a dismissal
 without prejudice because the claim was not ripe (Dkt. #229 at p. 9).

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 reference the concealment of documents—namely in making this sanctionable statement, and

 many other sanctionable statements, to the Court. However, the only relief Jabary asked for was

 a status conference and revised orders on discovery (Dkt. #235). The Court granted such request.

 The Court held a status conference after the Show Cause Hearing on October 13, 2017. During

 the status conference, the Court clarified that discovery was open to all relevant matters and had

 been open since the issue of qualified immunity was settled, which was when the Fifth Circuit

 remanded the case for further proceedings after affirming the Court’s rulings on the motions for

 summary judgment. The Court had already discussed this issue with the parties at the June 20,

 2017 status conference. The Court granted all the relief Jabary requested in his motion. At no

 point did the Court discuss its internal thoughts, feelings, cares, troubles, or distresses regarding

 the concealment of documents. As such, this motion does not offer any proof for Mosser’s

 sanctionable word choice concerning the Court’s inner thoughts or concerns.

                    vii.    Jabary’s Opposed Emergency Motion to Extend Discovery
                            (Dkt. #242), Jabary’s Response to Previously Unopposed Motion to
                            Extend Deadline (Dkt. #243), and Jabary’s Emergency Motion to
                            Compel Production or Privilege Log (Dkt. #245)

        Mosser avers that Jabary’s Opposed Emergency Motion to Extend Discovery (Dkt. #242),

 Jabary’s Response to Previously Unopposed Motion to Extend Deadline (Dkt. #243), and Jabary’s

 Emergency Motion to Compel Production or Privilege Log (Dkt. #245) are all examples of times

 that Jabary pointed to the alleged concealment of documents and the Court declined to address the

 conduct. While these documents do reference the shielding or concealment of documents, the

 Court had not yet ruled on the motions prior to the Show Cause Hearing. After the Show Cause

 Hearing, the Court held a status conference to discuss the pending matters. During the status

 conference, the Court made clear that it was not extending the trial deadline but would allow for

 discovery past the discovery deadline. Further, the Court ruled on Jabary’s Emergency Motion to

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 Compel Production or Privilege Log after reviewing privilege logs and documents in camera

 (Dkt. #268). The Court granted the motion in part, only preventing discovery of information that

 was privileged (Dkt. #268). Nothing the Court did in ruling on these motions provides factual

 support for the contention that the Court “was less than concerned” with the concealment of

 documents. In fact, the Court granted most of the relief Jabary sought in these motions. As this

 was Mosser’s last offer of proof supporting his first sanctionable statement, the Court finds there

 is no factual support for the statement, and it is a violation of Rule 11.

                2. Eventually, and Despite This Court’s Rulings Blocking Discovery and
                   Condoning the Concealment of Documents; Plaintiff[] Received a Treasure
                   Trove of Documents Concerning the Conspiracy and Backroom Politics
                   That Deprived Jabary of His Right to Do Business in the City of Allen.
                   Regardless of the Emails and Admissions Contradicting the Sworn
                   Affidavits; Facts That Demonstrated the Conspiracy, This Court
                   Disregarded What Actually Happened, and Held That Plaintiff’s
                   Accusations That the City of Allen “Held Private Meetings to Devise a
                   Method of Shutting Down Jabary Mediterranean,” Was Merely a
                   Conclusory Statement. The Court Ignored Emails and Other Documents
                   That Fundamentally Demonstrated the City’s Misconduct and Ignored the
                   Fundamental Contradictions Contained in the Affidavits Used to Dismiss
                   Plaintiff’s Case.

        There are three separate comments that the Court recognized as sanctionable in this

 paragraph. Mosser provided distinct evidence for all three statements; as such, the Court will

 separate the analysis by the three different sanctionable statements.

                        i.      Despite This Court’s Rulings . . . Condoning the Concealment of
                                Documents

        Condone means “to regard or treat (something bad or blameworthy) as acceptable,

 forgivable, or harmless.”      MERRIAM WEBSTER ONLINE DICTIONARY, https://www.merriam-

 webster.com/dictionary/condone (March 15, 2018). Accordingly, Mosser has to produce evidence

 to suggest how the Court regarded or treated the City’s alleged concealment of documents as

 acceptable, forgivable, or harmless. Mosser claims that Jabary’s Motion for Sanctions (Dkt. #83),

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 the City’s Response Opposing Plaintiff’s Motion for Sanctions (Dkt. #96), and the Court’s

 corresponding order (Dkt. #100) prove that the Court condoned the concealment of documents

 (Dkt. #250 at p. 11).

         As the Court previously noted, 14 Jabary’s Motion for Sanctions and the corresponding

 order offer no factual support for the Court’s motive behind making its ruling on Jabary’s Motion

 for Sanctions. The order does not state that it was treating any alleged concealment of documents

 as acceptable, forgivable, or harmless (Dkt. #100). The Court considered the motion and denied

 it (Dkt. #100). Such order does not provide sufficient factual support for the statement that the

 Court was “condoning the concealment of documents.”

         To the extent that Mosser offers any of the documents the Court previously examined to

 support the statement that the Court was “less than concerned” with the concealment of documents,

 that evidence is equally unavailing to provide factual support that the Court condoned the

 concealment of documents. Accordingly, this statement does not have any factual support and is

 in violation of Rule 11.

                           ii.      This Court Disregarded What Actually Happened

         Mosser argues that in making recommendations on the motions to dismiss, the undersigned

 disregarded several statements as conclusory.                Mosser further contends that the concealed

 documents prove that each and every statement the Court disregarded as conclusory actually

 happened (Dkt. #250 at pp. 15–25). During the Show Cause Hearing, Mosser also referred to the

 Court’s actions in striking Jabary’s Third Amended Complaint (Dkt. #100), the Court’s ruling on

 Jabary’s Motion to Alter Judgment (Dkt. #132; Dkt. #140), the Court’s order on Jabary’s Motion

 to Compel (Dkt. #131), Jabary’s Opposed Emergency Motion to Extend Discovery (Dkt. #242),


 14
   While the Court did not previously address the City’s response to the motion for sanctions, the response does not
 change the analysis for the purposes of this Sanctions Order.

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 Jabary’s Response to Previously Unopposed Motion to Extend Deadline (Dkt. #243), and Jabary’s

 Emergency Motion to Compel Production or Privilege Log (Dkt. #245). The Court has previously

 addressed why these motions and corresponding orders did not offer factual support for the

 statement that the Court was “less than concerned” about the concealment of documents, and they

 similarly do not provide any factual support for the statement that the “Court disregarded what

 actually happened.” None of these motions, responses, or corresponding orders provide any

 information concerning what the Court regarded or disregarded in making its decision, except for

 the reports and recommendations on the motions to dismiss (Dkt. #78; Dkt. #79).                                        In

 recommending that the Court grant the Individual Defendants’ motion to dismiss and grant in part

 the City’s motion to dismiss, the undersigned identified thirty statements in Plaintiff’s Second

 Amended Complaint and Rule 7(a) Reply as conclusory and, thus, “disregard[ed the statements]

 in considering the motion [to dismiss].” (Dkt. #78; Dkt. #79). Accordingly, the Court will engage

 in further analysis as to the reports and recommendations on the motions to dismiss.

          The Supreme Court of the United States has established a two-step approach for courts to

 apply when considering a Rule 12(b)(6) motion to dismiss. First, the Court should identify and

 disregard conclusory allegations for they are “not entitled to the assumption of truth.” Ashcroft v.

 Iqbal, 556 U.S. 662, 679–80 (2009). Second, the Court “consider[s] the factual allegations in [the

 complaint] to determine if they plausibly suggest an entitlement to relief.” Id. Therefore, in

 making the recommendations, the undersigned looked to Plaintiff’s Second Amended Complaint

 and Rule 7(a) Reply and determined that certain statements were conclusory. 15 Accordingly, the


 15
   The Court notes that the Fifth Circuit considered the interlocutory appeal, and reversed this Court’s decision as to
 two of the Individual Defendants, McCullough and Terrell, as to the procedural due process claim. In so doing, the
 Fifth Circuit did not hold that the Court inappropriately disregarded statements as conclusory, but found that Jabary
 had a protected property interest in his Certificate, that he was not afforded sufficient procedures for the revocation of
 such Certificate, and that it was plausible McCullough and Terrell were personally involved (Dkt. #122 at pp. 8–12).
 The statements the Court disregarded as conclusory did not involve these determinations. The Fifth Circuit did hold
 that statements made in support of Jabary’s conspiracy claim were “conclusory in nature.” (Dkt. #122 at p. 17).

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 Court disregarded the conclusory statements for the purpose of ruling on the motions to dismiss

 (Dkt. #78; Dkt. #79) as required when analyzing a Rule 12(b)(6) motion to dismiss. Iqbal, 556

 U.S. at 679–80. While the Court may have disregarded certain conclusory statements for purposes

 of ruling on a motion to dismiss, this does not provide factual support for the contention that the

 Court disregarded what actually happened. 16

                           iii.     The Court Ignored Emails and Other Documents that
                                    Fundamentally Demonstrated the City’s Misconduct and
                                    Ignored the Fundamental Contradictions Contained in the
                                    Affidavits Used to Dismiss Plaintiff’s Case.

         Mosser claims that the Court’s order on Jabary’s Motion for Sanctions (Dkt. #100), the

 striking of Plaintiff’s Third Amended Complaint (Dkt. #100), and the motions for summary

 judgment provide a factual basis for the statement that the Court ignored contradictions and

 evidence in this case (Dkt. #250 at pp. 25–26). Mosser claims that the contradictions between

 McCullough’s declaration and deposition are apparent, and the Court has yet to address the

 contradictions (Dkt. #250 at p. 26). He further claims that the declarations are “clearly a sham,

 [but] this Court did not believe so.” (Dkt. #250 at p. 26). To support this claim, Mosser cited the

 following explanation and excerpts of the Court’s rulings on McCullough and Terrell’s motion for

 summary judgment: “Doc. 182, (‘Magistrate Judge overruled Plaintiff’s objections to the

 declaration, and found that the “deposition of McCullough closely follows the statements made in




 However, the Fifth Circuit declined to engage in an in-depth analysis of “Jabary’s claims regarding an alleged
 conspiracy to deprive him of his Certificate by way of police harassment, because that conduct did not result in an
 actual deprivation necessary to support a conspiracy claim under § 1983 to deny him due process of law.” (Dkt. #122
 at p. 17).
 16
    Moreover, in ruling on the motions to dismiss, the emails Mosser claims the Court ignored were not attached to the
 second amended complaint or referenced by the second amended complaint. Accordingly, it would have been
 improper for the Court to consider them. See Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387
 (5th Cir. 2010) (holding that the Court may consider “the complaint, any documents attached to the complaint, and
 any documents attached to the motion to dismiss that are central to the claim and referenced by the complaint.”).

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 his affidavit. . .” [Doc. #151 at 9].’); But see, Doc. 182, pg 5 (‘This is quite different testimony

 from that contained in McCullough’s declaration.’).” (Dkt. #205 at p. 26) (alterations in original).

        As an initial matter, the first sentence quoted from the Order Adopting Report and

 Recommendation of United States Magistrate Judge (Dkt. #182) is the Court’s summary of

 Defendants’ objections. (Dkt. #182 at p. 3); accord (Dkt. #153 at p. 8). Further, the undersigned

 overruled Jabary’s objections to McCullough’s affidavit because it did not use the affidavit in

 making the recommendation (Dkt. #151 at p. 1 n.1). The undersigned did not overrule the

 objection because it did not believe the declaration was a sham; it simply did not use the

 declaration. Moreover, the statement quoted from the undersigned’s report and recommendation

 reflects the undersigned’s reasoning for allowing Jabary to supplement his response. Jabary filed

 Plaintiff’s Opposed Motion and Memorandum in Support for Leave to Supplement its Response

 to Defendants’ Motion for Summary Judgment (Dkt. #146) to include McCullough’s deposition

 as part of the summary judgment record. The undersigned allowed the supplement, finding it

 would not cause any prejudice, would be helpful in resolving the motion, and was not the result of

 any improper purpose or delay (Dkt. #151 at p. 9). The undersigned then, using McCullough’s

 deposition, recommended denial of the motion for summary judgment as to McCullough, in part,

 because there was a genuine issue of material fact as to whether exigent circumstances existed

 (Dkt. #151 at p. 17). Turning to the next sentence Mosser quoted from the Order Adopting Report

 and Recommendation of United States Magistrate Judge (Dkt. #182), the Court acknowledged the

 contradictions between the declaration and the deposition and found this created a fact issue

 (Dkt. #182 at p. 5). This is quite the opposite of “ignor[ing] . . . fundamental contradictions.”

 Mosser’s proffered evidence disproves his assertion.




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          At the hearing, Mosser also argued that every single dispositive motion, the Court’s

 corresponding rulings, Jabary’s Motion for Sanctions (Dkt. #83), and the Court’s order striking

 Plaintiff’s Third Amended Complaint (Dkt. #100) all prove that the Court ignored the emails and

 the contradictions contained in the affidavits. 17 When pressed on the evidence at the Show Cause

 Hearing, Mosser asserted that there was no other way to interpret what has happened in this case,

 maintaining that if the Court had considered the evidence, the Court would not have ruled as it did.

 Mosser repeatedly faces the same problem: his interpretation of how the case has proceeded is not

 factual support for the contention that the Court ignored emails, other documents, and/or

 fundamental contradictions. The Court has previously detailed why the rulings on the dispositive

 motions (Dkt. #78; Dkt. #79; Dkt. #100; Dkt. #151; Dkt. #182; Dkt. #205), 18 the order on Jabary’s

 Motion for Sanctions (Dkt. #100), and the Court’s order striking Plaintiff’s Third Amended

 Complaint (Dkt. #100) do not provide factual support for the inner thoughts of the Court, and that

 analysis equally applies to why these motions and orders do not provide factual support for the

 decision-making process of the Court. These motions, responses, and orders do not state that the

 Court ignored any evidence when makings its rulings. 19

          To the extent Mosser offers any of the documents the Court previously addressed, that

 evidence is similarly unavailing to provide factual support regarding the Court’s decision-making

 process and what it considered or did not consider in making its rulings. Mosser has no factual


 17
    While making this argument, Mosser made yet another sanctionable statement, claiming that the Honorable Michael
 H. Schneider failed to consider all of the evidence submitted in support of Jabary’s motions. The Court does not add
 this to the list of sanctionable statements because it was not part of the Court’s Show Cause Order.
 18
    The Court also ruled on McCullough & Terrell’s Second Motion for Summary Judgment (Dkt #206). This order
 has not been previously addressed by the Court in this Sanctions Order; however, the Court denied the motion as it
 was the second motion based on the same set of facts and arguments as the first motion for summary judgment and
 the first ruling was not arbitrary or an abuse of discretion (Dkt. #206 at p. 4). Accordingly, this order would offer no
 support for any of the contentions that Mosser made against the Court.
 19
    As previously discussed, the reports and recommendations regarding the Defendants’ motions to dismiss state that
 certain conclusory statements were disregarded when ruling on the motions to dismiss, as is required by Supreme
 Court and Fifth Circuit precedent.

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 support for the contention that the Court ignored any evidence, documents, or facts when making

 its rulings in this case. Indeed, the evidence Mosser used to support his word choice demonstrates

 that his statement is completely unsupported and false. Therefore, this statement is sanctionable

 under Rule 11.

                  3. Indeed, Every Statement the Court Believed Was Conclusory Was Based
                     on Specific Facts Contained in the Emails the City of Allen Hid from
                     Plaintiff Until the Texas Open Records Request Was Filed.

         The definition of “believe” is “to consider to be true or honest.” MERRIAM WEBSTER

 ONLINE DICTIONARY, https://www.merriam-webster.com/dictionary/believe (March 15, 2018).

 Thus, Mosser would need to provide factual support for the Court’s inner thoughts on what it

 considered to be true or honest.            Mosser argues that when the undersigned’s reports and

 recommendations on the motions to dismiss are compared with the emails Jabary obtained through

 the open records request, this statement is factually supported. As the Court previously analyzed,

 the reports and recommendations on the motions to dismiss (Dkt. #78; Dkt #79), and the order

 adopting those recommendations (Dkt. #100), do not provide any support for the Court’s thoughts;

 they similarly do not provide support for what the Court considered to be true or honest, or, in

 other words, what the Court believes. The Court agrees that it found 20 certain statements to be

 conclusory and that the reports and recommendations and corresponding order support that

 statement; however, they provide no insight into the Court’s inner thoughts or beliefs.

         To the extent that Mosser offers any of the documents the Court previously considered,

 that evidence is likewise unsuccessful in providing factual support for what the Court “believed.”

 Accordingly, this statement does not have any factual support and is in violation of Rule 11.



 20
   During the hearing, the Court attempted to explain to Mosser that using the word “found” would have been a more
 appropriate and factually supported word to use in this context; however, Mosser failed to understand the difference
 between the Court’s internal beliefs and the findings the Court makes in its rulings.

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                4. Even After Plaintiff Gave Up in the Hopes of Justice, as Facts and
                   Admissions by the City of Allen Do Not Amount to Factual Contentions
                   (Instead are Merely Conclusory Statements); Plaintiff Sought Motions to
                   Compel Seeking to Get Discovery, in This Case, the Court Declined the
                   Majority of the Discovery. . . . Furthermore, Plaintiffs Do Not Believe That
                   Perjured Affidavits Should Be an Acceptable Means to Dictate the Limits
                   of Qualified Immunity, and Certainly Should Not Be the Means to Restrict
                   This Court from Seeking the Truth.

        The Court reads the next two sanctionable statements together to state that “Plaintiff gave

 up in the hopes of justice” because this Court is not “seeking the truth.” In his response, Mosser

 clarified that Jabary had not given up hope, but that this statement came from Mosser’s own

 depression and frustration (Dkt. #250 at p. 28). He continued on to argue that Jabary’s Motion to

 Compel (Dkt. #128), the corresponding order (Dkt. #131), and the report and recommendation that

 recommended granting the Individual Defendants’ motion to dismiss (Dkt. #78) demonstrate how

 the proceedings in this case accurately represent the statement that he made. Mosser additionally

 argues that the Court’s order on Jabary’s Motion for Sanctions (Dkt. #100) is factual support for

 the contention that the Court is not seeking the truth in this matter. During the hearing, Mosser

 also referenced the Court’s denial of Jabary’s Motion to Alter Judgment (Dkt. #132; Dkt. #140).

        These statements cannot be proven in fact. As previously stated, the Court denied Jabary’s

 Motion for Sanctions, as it deemed no relief was appropriate at the time the motion was filed

 (Dkt. #100). The Court ruled on the motions to dismiss as the Court determined was correct

 according to the law (Dkt. #78; Dkt. #79; Dkt. #100). The Fifth Circuit affirmed in part and

 reversed in part, and at that point the Court resumed the case as to the defendants the Fifth Circuit

 deemed appropriate (Dkt. #122). Further, the Court ruled on Jabary’s Motion to Compel, only

 allowing discovery permitted by Fifth Circuit precedent (Dkt. #131). Lastly, Jabary’s Motion to

 Alter Judgment was denied as untimely (Dkt. #132; Dkt. #140). Even though he attempted to do

 so, Mosser cannot point to anything in the record to support the contention that the Court was not

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 permitting justice to be done and was not seeking the truth in this case. The Court followed the

 law as it applied to this case.

          To the extent that Mosser offers any of the documents the Court previously analyzed

 herein, that evidence is equally unavailing to provide factual support for the contention that the

 Court did not seek the truth in this case and was not administering justice. Accordingly, this

 statement does not have any factual support and is in violation of Rule 11.

                   5. Rather Than Wasting Valuable Time Drafting Discovery, Serving
                      Subpoenas, and Moving to Compel Responses, Plaintiffs Seek Clarification
                      at the Outset and Reserves His Time and Efforts if the Court Refuses to
                      Permit Justice Be Done and Again Deny Jabary His Due Process.

          The Court identified the statement “if the Court refuses to permit justice be done and again

 deny Jabary his due process” as the sanctionable statement in this sentence. In his response,

 Mosser does not offer any factual support for this statement 21 but, at the Show Cause Hearing, he

 suggested that Jabary’s Motion to Compel (Dkt. #128) offered factual support for this statement.

          As the Court previously noted, the Court denied Jabary’s Motion to Compel, only

 permitting discovery on qualified immunity because that was all that was allowed at that stage of

 the proceeding pursuant to Fifth Circuit law (Dkt. #131). Jabary never filed another motion asking

 the Court to reconsider or another motion to compel at a later date. 22 Even though there was no

 specific motion, the Court opened discovery as to all relevant matters after the case resumed in the

 district court when the Fifth Circuit remanded after summary judgment. The issue was discussed

 at the June 20, 2017 status conference and the Court issued an Amended Scheduling Order listing




 21
    In his response, Mosser focuses on the conduct by opposing counsel toward him and his co-counsel (Dkt. #250 at
 pp. 32–33). As the Court previously stated, the Court will not engage in an analysis of this argument as it is not the
 reason for the Court’s Show Cause Order.
 22
    Jabary did filed his Emergency Motion to Compel Production or Privilege Log (Dkt. #245), which the Court granted
 in part. However, Mosser refers to times in this litigation prior to the filing of this motion. Jabary filed no motion
 prior to this motion.

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 the discovery deadline as October 2, 2017 (Dkt. #231). The Court acted in accordance with Fifth

 Circuit law. Accordingly, such actions do not support the contention that the Court refused to

 permit that justice be done or denied Jabary his due process rights.

         To the extent that Mosser offers any of the documents the Court previously detailed herein,

 that evidence is similarly unpersuasive to provide factual support that the Court refused to permit

 that justice be done. Therefore, the statement that the “Court refuses to permit justice be done”

 and is repeatedly “deny[ing] Jabary his due process” is factually unsupported and sanctionable

 under Rule 11.

                  6. The Court Should Schedule a Status Conference to Determine to What
                     Extent Qualified Immunity Can Bar the Truth from Being Revealed, and
                     to What Extent the Court’s Refusal to Consider the Email Chain Will
                     Continue to Impact Jabary’s Recovery in This Case of Clear Civil Rights
                     Violations.

         The Court identified the statement that the “Court[] refus[ed] to consider the email chain,”

 as the sanctionable comment in this sentence. In his response, Mosser failed to identify any factual

 support for this statement, 23 but during the Show Cause Hearing, he referenced McCullough and

 Terrell’s motion for summary judgment (Dkt. #135) and the Court’s corresponding rulings

 regarding exigent circumstances (Dkt. #151; Dkt. #182). Mosser emphasized that this motion and

 the corresponding rulings provide factual support because, even though nothing in the text of the

 report and recommendation or order adopting stated the Court refused to consider the emails,

 Mosser asserts that the Court would have ruled differently if it had considered the emails. Mosser

 stressed that the effect of the rulings provide the factual support for this statement.

         Once again, Mosser relies on his own perception of what the Court did and why the Court

 ruled in the manner that it did. In ruling on a motion for summary judgment, the Court must


 23
  Mosser’s response focused on opposing counsel’s conduct; as such, the Court will not analyze the argument Mosser
 made in his response.

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 consider all of the evidence but “refrain from making any credibility determinations or weighing

 the evidence.” Turner v. Baylor Richardson Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007) (citing

 Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)). Nowhere in the report and

 recommendation does it state that the undersigned refused to consider the email chain (Dkt. #151).

 To the contrary, the undersigned referenced the emails attached to Plaintiff’s Response to

 Defendants’ Motion for Summary Judgment (Dkt. #151 at pp. 3, 12). With the evidence before

 the Court and without making any credibility determinations or weighing the evidence, the

 undersigned recommended that the Court should deny the motion for summary judgment against

 McCullough, finding that there was a fact issue for the jury to decide (Dkt. #151 at pp. 17, 32) and

 the Court adopted such recommendation (Dkt. #182).

        Further, Mosser’s claim that the Court would have ruled differently on the motion for

 summary judgment regarding exigent circumstances if the Court had considered the emails is

 perplexing. The Court denied the motion for summary judgment as to McCullough. The Court

 found there were genuine issues of material fact, specifically regarding exigent circumstances

 (Dkt. #151 at pp. 17–18; Dkt. #182 at p. 5). The Court could not grant summary judgment in

 Jabary’s favor because he never filed a motion for summary judgment.

        If Mosser is referring to the fact that the Court would have ruled differently on Terrell’s

 motion for summary judgment, this argument is contradicted by the fact that the undersigned

 specifically referenced the emails in the recommendation to grant Terrell’s motion (Dkt. #151 at

 p. 12). If Mosser is referring to the City’s motion for summary judgment, the Court granted

 summary judgment as to the takings claim based on res judicata, collateral estoppel, and ripeness;

 and as to the due process claim, because McCullough was not a policymaker. This decision was

 based not on declarations that can allegedly be proven by emails to be lies, but instead on the City’s



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 charter and the City’s land development code. Nothing about these rulings suggests that the Court

 refused to consider the emails attached to the motion for summary judgment.

        To the extent that Mosser offers any of the documents the Court previously examined, that

 evidence is likewise fruitless to provide factual support that the Court refused to consider evidence.

 Accordingly, this statement does not have any factual support and is in violation of Rule 11.

                7. Rather, the Accuracy of Plaintiff’s Assertions Is Telling. Plaintiff Spent
                   Far Too Much Time Litigating Open Records Requests in a Vain Effort to
                   Gather Information Related to the Conspiracy; While Combating the False
                   Representations That This Court Continually Declines to Address. Only
                   through the Texas Open Records Act, was Plaintiff Able to Receive Nearly
                   Two-Thousand Pages of Documents, Which Should Have Been Identified
                   in Initial Disclosures. These Documents Demonstrate That the Very
                   Accusations the Court Erroneously Disregarded as Conclusory; Were Not
                   Only Facts (and Admissions by Defendants), but Demonstrate Defendants’
                   Counsel Manufactured False Representations to the Court—Repeatedly.
                   Every Representation by Defendants Before the Court Regarding the
                   Meetings and Whether They Happened Was False, and Formed the Basis
                   of the Court’s Dismissal of Many of Those Statements as Conclusory.

        The Court identified the statement that “this Court continually declines to address” “false

 representations” as the sanctionable statement in this paragraph. In this context, address means

 “to direct the efforts or attention of (oneself)” or “to deal with.” MERRIAM WEBSTER ONLINE

 DICTIONARY,      https://www.merriam-webster.com/dictionary/address          (March     15,    2018).

 Accordingly, Mosser would have to provide factual support for the contention that the Court

 continually declined to deal with the false representations or continually declined to direct its

 efforts or attention toward the false representations. In his response to the Show Cause Order,

 Mosser again referenced Jabary’s Motion for Sanctions (Dkt. #83) and the corresponding order

 (Dkt. #100) as evidentiary support for his statements.          He also compared the Individual

 Defendants’ various responses with Jabary’s Motion for Sanctions and Opposed Emergency

 Motion to Extend Discovery (Dkt. #242). During the hearing, Mosser additionally discussed



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 Jabary’s Motion to Compel (Dkt. #128) and the Court’s corresponding order (Dkt. #131) as factual

 support for this statement.

        Whether or not the Court specifically referenced the conduct in ruling on Jabary’s Motion

 for Sanctions bears no weight on whether the Court dealt with or directed its efforts or attention to

 the alleged false representations. The simple fact that the Court denied Jabary’s Motion for

 Sanctions does not provide any support for the contention that the Court declined to direct its

 attention or efforts toward false representations. Indeed, the Order demonstrates that the Court

 directed its attention and efforts to false representations by denying Jabary’s Motion for Sanctions.

        Further, comparing the Individual Defendants’ answers to a motion to extend discovery

 does not provide any evidence of what the Court “address[ed].” There was nothing for the Court

 to “address” aside from granting the motion to extend discovery, which in fact the Court did at the

 status conference after the Show Cause Hearing. Finally, as has been previously discussed, the

 Court allowed for the discovery permitted at the relevant times. These motions and orders offer

 no factual support for the statement that the Court “continually decline[d] to address” false

 representations or, in other words, that the Court declined to direct its attention to or declined to

 deal with false representations.

        To the extent that Mosser offers any of the documents the Court previously scrutinized,

 that evidence is equally unavailing to provide factual support that the Court declined to address

 false representations. Accordingly, this statement does not have any factual support and is in

 violation of Rule 11 and is sanctionable.




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                8. Rather, Had Defendants Complied with Rule [26], Made Proper
                   Disclosures; and Had the Court Been Concerned More with the Existence of
                   the Emails (Demonstrating That Every Statement the Court Disregarded as
                   Conclusory Was Factually True) a Different Result Would Have Been Had.

        The sanctionable statement identified by the Court in this sentence is: “had the Court been

 concerned more with the existence of the emails . . . a different result would have been had.” This

 statement is similar to the first sanctionable statement identified by the Court, that the Court was

 “less than concerned” with the concealment of documents. Mosser again identifies Jabary’s

 Motion for Sanctions (Dkt. #83) and the corresponding order denying the motion (Dkt. #100) as

 factual support for this statement. Yet again, this motion and corresponding order fail to prove

 that the Court was not concerned with the emails or, in other words, did not care, was not troubled

 by, or was less than distressed about the emails. Mosser continually relies on his opinion of why

 the Court did what it did, which is not appropriate factual support.

        To the extent that Mosser offers any of the documents the Court previously considered,

 that evidence is similarly unavailing to provide factual support for the assertion that the Court was

 not concerned with the emails. Accordingly, this statement does not have any factual support and

 is in violation of Rule 11. This statement is therefore sanctionable under Rule 11.

                9. [Jeffrey’s] Arguments Are Yet Another Set of False Representations to the
                   Court. Despite Jeffrey’s Maligning of Plaintiff, Plaintiff Has Clearly
                   Alleged “Through a Texas Open Records Lawsuit, Plaintiff Has Acquired
                   Documents Which Indicate This Statement Is Factually Not True and a
                   Denial Is Not Warranted by the Evidence.” Moreover, in the Recent
                   Document, Plaintiff Plainly Asserted That He Spent Months Litigating
                   Over … [an] Open Records Request[].” It Is Unclear Why This Court
                   Continues to Ignore [Jeffrey’s] Pleaded Falsehoods. However, the Court
                   Does.

        The last two sentences of the paragraph are the statements the Court identified as

 sanctionable. In response to the Show Cause Order, Mosser argues that he “repeatedly prayed for

 the Court’s intervention, pointed to specifics, and even called upon the State Bar to assist—none

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 have addressed the conduct that persists even today.” (Dkt. #250 at p. 47). In support of his

 argument, Mosser cites Jabary’s Motion for Sanctions (Dkt. #83), Plaintiff’s Response to

 Defendants’ Motion and Brief to Dismiss Third Amended Complaint (Dkt. #88), Plaintiff’s

 Objection to Magistrate Judge’s Reports and Recommendations (Dkt. #89), Jabary’s Motion to

 Continue (Dkt. #141), Plaintiff’s Response to Defendant the City of Allen’s Motion for Summary

 Judgment (Dkt. #186), Jabary’s Motion Requesting Status Conference and Revised Orders on

 Discovery, which initiated the Court’s Show Cause Order, (Dkt. #235), Jabary’s Opposed

 Emergency Motion to Extend Discovery (Dkt. #242); Jabary’s Response to Previously Unopposed

 Motion to Extend Deadline (Dkt. #243); and Jabary’s Emergency Motion to Compel Production

 or Privilege Log (Dkt. #245).

        The Court has previously addressed each of these alleged supporting documents and

 analyzed why they failed to provide support for the allegation that the Court was “less than

 concerned” with the concealment of documents. This analysis applies with equal weight to why

 they fail to provide factual support for the accusation that the Court “continues to ignore Jeffrey’s

 pleaded falsehoods.” None of these documents offers any support for the decision-making process

 or the inner thoughts of the Court. To the extent that Mosser offers other documents the Court

 previously inspected, that evidence is also unconvincing in providing factual support that the Court

 ignored any pleaded falsehoods. Thus, this statement is also factually unsupported and a violation

 of Rule 11, which warrants sanctions.




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                  10. Indeed, Maybe if Jabary Had Used Enough Creative Adjectives and
                      Pretended Differently, the Court Would Have Ruled in His Favor. Plaintiff
                      Has Previously Complained About the Vile Nature of [Jeffrey’s] Pleadings,
                      and Those Complaints Have Fallen on Deaf Ears. Plaintiff Began
                      Compiling a List of the Slurs Directed at Plaintiff, but This Task Was Too
                      Disturbing to Complete. At least Plaintiff’s Assertions Can Be Directly
                      Proved, Even if Dismissed by the Court.

         The Court identified Mosser’s sanctionable statement, perhaps his most offensive

 statement, in this paragraph as, “[i]ndeed, maybe if Jabary had used enough creative adjectives

 and pretended differently, the Court would have ruled in his favor.” 24 In his response, Mosser

 identifies several times that opposing counsel used colorful language, and Mosser argues that the

 Court never addressed such language. 25 During the hearing, Mosser claimed that the entire record

 of this case and every motion supports this statement. When pressed for a specific example, the

 only one Mosser could offer was the Court’s order on Jabary’s Motion to Compel (Dkt. #131).

         In the Court’s order on Jabary’s Motion to Compel, the Court briefly summarized the

 parties’ arguments. In so doing, the Court explained:

         Defendants assert that Plaintiff’s Motion, for the first time, pretends that Plaintiff
         is now seeking discovery only on procedural due process. Defendants argue that
         prior to the present motion, Plaintiff’s counsel asserted that Plaintiff would like to
         conduct discovery as to all matters, including matters that are presently pending in
         the state litigation proceedings.

 (Dkt. #131 at p. 2) (emphasis added). The Court then proceeded to engage in an analysis on what

 discovery was permitted under Fifth Circuit law (Dkt. #131 at pp. 1–2). The Court determined

 that Fifth Circuit precedent only allowed discovery as to qualified immunity because of the stage

 of the litigation (Dkt. #131 at p. 1). It was accordingly unnecessary for the Court to engage in an



 24
    As the Court previously mentioned, the attorneys’ conduct toward each other is not the issue before the Court in
 this Sanctions Order. However, based on the nature of the allegation made against the Court, the Court will briefly
 address such conduct, to the extent necessary to analyze this statement.
 25
    Mosser never filed a Rule 11 motion for sanctions based on the “colorful” and “offensive language” used by
 opposing counsel. The basis for the initial motion for sanctions was the alleged concealment of documents, not
 offensive language.

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 analysis of what type of discovery Jabary sought from Defendants or whether or not Jabary was

 “pretending” in his motion. Therefore, the use of this “creative adjective” was immaterial and had

 no effect on the Court’s ruling. The Court’s order does not offer any support for the bold allegation

 that the Court makes its decisions based on the use of creative adjectives.

        To the extent that Mosser offers any of the documents the Court previously analyzed, that

 evidence is equally unavailing to provide factual support that the use of creative adjectives sways

 the Court’s rulings. As such, this statement does not have any factual support and is in violation

 of Rule 11.

                11. Like Much of Jim Jeffrey’s Writing, His Response Is a Continual Game of
                    Hide and Seek, Ignoring the Issues, and Conflating Actual Facts with What
                    Jeffrey Can Manufacture to Deny Relief to Jabary. Plaintiff Did Not
                    Conduct Discovery During This Round, and Sought an Order from the
                    Court, Based on the Sincerely Held Belief That, Jeffrey Would Lie About
                    His Cooperation in the Matter Merely to Tell the Court That Any
                    Arguments Against Qualified Immunity “Should Not Be the Basis of Any
                    Relief Herein, nor Should This Be the Basis of Allowing Any Discovery.”
                    It Is Disappointing That These Beliefs Are Continually Ratified.

        The Court acknowledged the sentence, “[i]t is disappointing that these beliefs[, that

 opposing counsel will lie to the Court,] are continually ratified,” as the sanctionable sentence in

 this paragraph. To ratify means “to approve and sanction formally.” MERRIAM WEBSTER ONLINE

 DICTIONARY, https://www.merriam-webster.com/dictionary/ratify (March 15, 2018). As such,

 Mosser would need to provide factual support for what the Court approved of or sanctioned

 formally. To support this statement, Mosser claims that he is “depressed and disappointed” and

 “frustrate[ed]” that the Court has never addressed opposing counsel’s conduct in this case

 (Dkt. #250 at pp. 53–54). Mosser additionally cited the Court’s Memorandum Adopting Report

 and Recommendation of the United States Magistrate Judge (Dkt. #100), the Court’s Order

 Denying Motion to Compel (Dkt. #131), Jabary’s Opposed Emergency Motion to Extend



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 Discovery (Dkt. #242), and Jabary’s Emergency Motion to Compel Production or Privilege Log

 (Dkt. #245).

          Mosser’s disappointment, depression, or frustration does not provide any factual support

 for what the Court does or does not approve or ratify. At no point when making any of its rulings

 did the Court state approval of or ratify any alleged lying. Specifically, as to the motions Mosser

 referred to in his response to the Show Cause Order, in ruling on Jabary’s Motion for Sanctions,

 the Court stated: “[i]t is further ORDERED that Plaintiff’s Motion for Sanctions and

 Memorandum in Support of Motion for Rule 11 Sanctions (Dkt. No. 83) is DENIED.” (Dkt. #100

 at p. 4) (emphasis in original). Nowhere did the Court make the assertion that it approved of any

 concealment, falsification, or lying. Further, in ruling on Jabary’s Motion to Compel, the Court

 did not approve of any conduct by opposing counsel; it simply applied the law of the Fifth Circuit

 (Dkt. #131). 26 Finally, as to Jabary’s Opposed Emergency Motion to Extend Discovery and

 Jabary’s Emergency Motion to Compel Production or Privilege Log, the Court granted the

 extension and compelled discovery for non-privileged documents. None of these rulings supports

 Mosser’s allegation.

          To the extent that Mosser offers any of the documents the Court previously considered,

 that evidence is equally unavailing to provide factual support that the Court ratified lying to the

 Court. Therefore, this statement does not have any factual support and is in violation of Rule 11.




 26
    In his response, Mosser also points to the Court’s ordering expedited responsive briefing to prove that the Court is
 imposing a “clear double standard” as to Mosser and his opposing counsel (Dkt. #250 at p. 54). While this argument
 is referring to the parties’ conduct toward each other, the Court addresses it because of the bold accusation that the
 Court sets a different standard for the parties in the case. This statement is unsupported in fact. The difference in the
 response time can be explained by the difference in subject matter: a response to a scheduling conflict and supplying
 a privilege log are different matters and require a different amount of work. The difference in time does not support
 a double standard. Further, the Show Cause Order does not support the contention that the Court is imposing a double
 standard because the Show Cause Order only referenced sanctionable statements made to the Court, which Jim Jeffrey
 has not made.

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                12. Numerous Witnesses Have Perjured Themselves by Submitting False
                    Declarations and Affidavits to This Court, Plaintiff Has a Constitutional
                    Right to Confront These Persons. There Is No Reason This Court Should
                    Condone Jeffrey’s Discovery Games, False Representations, and Childish
                    Name-Calling.

        The Court recognized the last sentence of this paragraph to be sanctionable “[t]here is no

 reason this Court should condone Jeffrey’s discovery games, false representations, and childish

 name-calling.” As the Court previously mentioned, the definition of condone is “to regard or treat

 (something bad or blameworthy) as acceptable, forgivable, or harmless.” MERRIAM WEBSTER

 ONLINE DICTIONARY, https://www.merriam-webster.com/dictionary/condone (March 15, 2018).

 As such, Mosser must provide evidence of what the Court regarded as acceptable, forgivable, or

 harmless. In response to the Show Cause Order, Mosser referenced Jabary’s Motion for Sanctions

 (Dkt. #83), Jabary’s Opposed Emergency Motion to Extend Discovery (Dkt. #242), and Jabary’s

 Emergency Motion to Compel Production or Privilege Log (Dkt. #245).

        The Court has already explained why these documents do not prove that the Court

 condoned the concealment of documents and they equally do not support that the Court is

 “condon[ing any] discovery games, false representations, [or] childish name-calling.” The Court

 denied Jabary’s Motion for Sanctions because it found no relief could be granted at the time

 (Dkt. #100). Further, the Court orally granted Jabary’s Opposed Emergency Motion to Extend

 Discovery and granted in part Jabary’s Emergency Motion to Compel Production or Privilege Log

 after a review of a privilege log (Dkt. #268). These rulings offer no support as to the Court’s

 thoughts on what it regarded as acceptable, forgivable, or harmless.

        To the extent that Mosser offers any of the documents the Court previously examined, that

 evidence is equally unavailing to provide factual support that the Court condoned discovery games,




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 false representations, and childish name-calling.             Accordingly, Mosser’s final sanctionable

 statement does not have any factual support and is in violation of Rule 11.

         B. Disrespectful

         An attorney appearing in the Eastern District of Texas must act with the utmost personal

 integrity, professional integrity, civility, and professionalism. LOCAL RULE AT-3(C); LOCAL RULE

 AT-3(E). Further, attorneys in the Eastern District of Texas must always act with candor,

 diligence, and the utmost respect toward the Court. LOCAL RULE AT-3(B). The Court expects a

 higher standard of conduct from the lawyers that practice in front of it. LOCAL RULE AT-3(K).

         Mosser argues that several of his comments are not disrespectful because he is attempting

 to challenge the doctrine of qualified immunity itself, as opposed to criticizing the Court.

 However, this argument is utterly unavailing. It is belied by the sheer number of times that Mosser

 included the phrase “this Court,” or some variation, in his twelve sanctionable statements—a total

 of fifteen times. Further, Mosser continually references “this case” as opposed to qualified

 immunity cases in general. At no point in his response to the Show Cause Order did Mosser claim

 to be challenging the doctrine of qualified immunity; Mosser instead pointed to specific instances

 of the Court’s actions to support his statements. Moreover, not once when reading the Motion

 Requesting Status Conference and Revised Orders on Discovery (Dkt. #235), Reply to Response

 to Request for Status Conference (Dkt. #237), or the Response to Show Cause Order (Dkt. #250)

 did the Court, or opposing counsel, 27 recognize a challenge to the doctrine of qualified immunity,

 but instead identified disrespect toward the Court.

         Mosser, although he claims he does not, challenges the Court’s ability to follow its oath.

 Every judge that has been assigned as the United States District Judge or United States Magistrate


 27
   “[McCullough] does not join the present Motion Requesting Status Conference (Doc. 235) because: it contains
 assertions which are disrespectful to the Court. . . .” (Dkt. #236 at p. 1).

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 Judge on this case took the following oath: “I, [Amos L. Mazzant, III or Michael H. Schneider or

 Ron Clark], do solemnly swear that I will administer justice without respect to persons, and do

 equal right to the poor and to the rich, and that I will faithfully and impartially discharge and

 perform all the duties incumbent upon me as [United States Magistrate Judge or United States

 District Judge] under the Constitution and laws of the United States; and that I will support and

 defend the Constitution of the United States against all enemies, foreign and domestic; that I will

 bear true faith and allegiance to the same; that I take this obligation freely, without any mental

 reservation or purpose of evasion; and that I will well and faithfully discharge the duties of the

 office on which I am about to enter. So help me God.” 28 U.S.C. § 453.

        Mosser accused the Court of: refusing to permit justice to be done, in contravention of its

 oath to “administer justice without respect to persons”; creating a double-standard in the case, in

 contravention of its oath to “faithfully and impartially discharge and perform all duties”; failing to

 consider evidence, in contravention of its oath to “perform all the duties incumbent upon [a United

 States Judge] under the Constitution and laws of the United States”; condoning the alleged

 concealment of documents thereby preventing Jabary’s recovery of his alleged civil rights

 violations, in contravention of its oath to “support and defend the Constitution of the United States

 against all enemies, foreign and domestic”; and depriving Jabary his due process rights, in

 contravention of its oath to “bear true faith and allegiance to the [Constitution of the United

 States].” Mosser eviscerates the integrity of each individual judge who has been assigned to this

 case since its inception in 2010. Mosser makes such bold, disrespectful, and inappropriate

 comments with a complete and absolute lack of factual or evidentiary support. Mosser repeatedly

 attempts to impose his view of how this case has proceeded, his perception of why the Court ruled




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 the way that it did, 28 and his own personal frustrations as evidence of how the Court allegedly

 acted inappropriately. Mosser’s actions demonstrate the utmost disrespect.

              The Court notes that had Mosser simply disagreed with the Court’s rulings, it would not

 be issuing this Sanctions Order. Litigants express disagreement with the Court’s rulings by filing

 appropriate motions to reconsider and/or notices of appeal. Mosser has evidenced his knowledge

 of this procedure by appealing the Court’s decisions in this case to the Fifth Circuit twice.

 However, the statements identified herein clearly surpass mere disagreement with the Court’s

 rulings and are flagrantly disrespectful to the Court. Consequently, the Court finds Mosser did not

 comply with Local Rule AT-3 when he made the previously identified statements.

       III.      Appropriate Sanctions

              Although the discretion in fashioning an appropriate sanction is broad, the sanction

 imposed should be the “least severe sanction” adequate to deter future violations of Rule 11.

 Merriman, 100 F.3d at 1194. Sanctions may be monetary or nonmonetary. FED. R. CIV. P. 11

 advisory committee’s note to 1993 amendment. In determining whether to impose a sanction, the

 Court should consider

              [w]hether the improper conduct was willful, or negligent; whether it was part of a
              pattern of activity, or an isolated event; whether it infected the entire pleading, or
              only one particular count or defense; whether the person has engaged in similar
              conduct in other litigation; whether it was intended to injure; what effect it had on
              the litigation process in time or expense; whether the responsible person is trained
              in the law; what amount, given the financial resources of the responsible person, is
              needed to deter that person from repetition in the same case; [and] what amount is
              needed to deter similar activity by other litigants.

 Id.




 28
   Mosser’s challenges to the Court’s rulings were made haphazardly, ignoring not only the Court’s reasoning, but
 even the Court’s holding in Jabary’s favor in certain instances.

                                                        42
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         The Show Cause Order, Show Cause Hearing, and Sanctions Order identified factually

 unsupported and disrespectful comments that Mosser made in two documents (Dkt. #235;

 Dkt. #237).     During the Show Cause Hearing, Mosser repeatedly asserted that he did not

 understand how his statements were unsupported in fact, and even maintained that he did not

 understand how all of his statements were disrespectful. 29 Considering the fact that Mosser is a

 young lawyer and that the Court intended to educate Mosser at the Show Cause Hearing, the Court

 finds that ordering Mosser to attend two Texas Bar CLE classes, “Ethical Courtroom Behavior

 Part I: Maintaining Dignity” MCLE No: 928004588 and “Ethical Courtroom Behavior Part II:

 Enforcement” MCLE No: 928010836, will assist in educating Mosser on appropriate courtroom

 demeanor. These classes will serve Mosser well going forward in the profession.

         However, although Mosser is a young lawyer, he is, in fact, trained in the law. While the

 Court is only sanctioning Mosser for statements in two documents, the Court observed other

 sanctionable comments in Mosser’s response to the Show Cause Order. Further, after the Court

 explained how the statements were disrespectful and unsupported in fact, Mosser did not

 apologize 30 for making the statements or even admit they were disrespectful. Instead, he reurged

 their applicability. Not only did Mosser reiterate the statements he already made, but Mosser

 continued to make new statements that were sanctionable. This leads the Court to find that Mosser

 made these statements willfully. Because of the level of disrespect Mosser demonstrated toward

 the judges in the Eastern District of Texas and the Court, the Court also finds a monetary sanction




 29
    Ultimately, Mosser reluctantly admitted that he could see how the Court could interpret or perceive his statements
 as being disrespectful.
 30
    The Court acknowledges that Mosser, on a few occasions, apologized to the Court for the Court’s perception or
 interpretation that the statements were disrespectful, but stood firm in his conviction that the statements were not
 disrespectful.

                                                         43
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     of $250 for each of the twelve identified statements appropriate to deter such conduct, not only

     from Mosser but all other litigants, in the future.

                                               CONCLUSION

            It is therefore ORDERED that Nicholas D. Mosser is required to participate in the Texas

     Bar CLE classes “Ethical Courtroom Behavior Part I: Maintaining Dignity,” MCLE No:

     928004588; and “Ethical Courtroom Behavior Part II: Enforcement,” MCLE No: 928010836 and

     pay a $3,000 fine to the Court. The fine is due and payable within ten (10) days from the date of
.
     the signing of this Order. The classes shall be completed within ninety (90) days from the date of

     the signing of this Order. Further, Mosser must submit evidence of completion of these classes

     within ten (10) days of their completion.

           SIGNED this 19th day of March, 2018.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE




                                                       44
